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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :              Case No. 1:21-cr-342-PLF
                                             :
JERAMIAH CAPLINGER,                          :
                                             :
                         Defendant.          :


                             MOTION TO DISMISS COUNTS 1-4

       On May 5, 2021, the United States Attorney charged the defendant in a five-count

Information. Doc. 11. On November 5, 2021, the defendant pleaded guilty to Count Five of the

Information via a plea agreement. Doc. 36. One provision of the plea agreement states that “In

consideration of your [] guilty plea to [Count Five of the Information] . . . The Government will

request that the Court dismiss the remaining counts of the Information in this case at the time of

sentencing.” Id. at 2.

       On August 1, 2022, the Court sentenced the defendant for his conviction on Count Five,

but the United States did not formally dismiss the remaining counts of the Information on the

record. The United States hereby moves to dismiss Counts One through Four of the Information,

thus fully resolving this case in accordance with the plea agreement.

                                             Sincerely,

                                             MATTHEW GRAVES
                                             United States Attorney


                                             By:     /s/ Michael M. Gordon__
                                                     Michael M. Gordon
                                                     Assistant United States Attorney
                                                     Detailed to the
                                                     United States Attorney’s Office
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